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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
PECOS DIVISION

MARY CATHERINE “KATIE”
SANCHEZ,
Plaintiff,

Vv.

PRESIDIO COUNTY, TEXAS and
FRANCES GARCIA in her individual
capacity,

Defendants

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DECLARATION OF JEANNE HALL
I, Jeanne Hall declare as follows:

1. My name is Jeanne Hall. I am over 21 years of age, of sound mind, and capable of
making this statement. I have personal knowledge of the matters stated herein. Every
statement herein is true and correct.

2. 1] was employed with Presidio County, Texas from approximately May 2015 until August
22, 2018, having worked at both the Presidio County Attorney’s Office as well the Office
of Management and Budget (OMB).

3. On or about late July or early August 2018 I was approached by then Presidio County
Commissioner Loretto Vasquez in the parking lot of a Dollar Store in Marfa, Texas.
Commissioner Vasquez told me that “we are getting rid of the OMB department, but you

are ok and will have a job.”
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4. Approximately one week later, on or about the week of August 6, 2018, Commissioner
Vasquez approached me at the post office. He told me “we are putting it on the agenda”
but “you are ok,” “you will have a job.”

5. On August 12, 2018, Presidio County Commissioner Brenda Bentley called and left me a
voicemail message, which I still have. She stated she wanted to speak to me to “ease my
mind.” I did not return her call.

6. Approximately one week before the August 22, 2018 Commissioners Court meeting,
County Treasurer Frances Garcia approached me in the hallway of the Presidio County
Courthouse where we work. Ms. Garcia told me, “don’t? worry,” “you will have a job.”

7. On August 22, 2018, the Presidio County Commissioners voted to eliminate the OMB
Department, which included my job as assistant. I resigned immediately and did not

seek any further employment with Presidio County.

I declare under penalty of perjury that the foregoing is true and correct.

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